
PER CURIAM:
In this claim submitted for decision upon the pleadings, claimant seeks payment of $2,931.20 for services and office equipment provided respondent.
In its Answer, the respondent admits the allegations of fact set forth in the Notice of Claim and acknowledges that the claimant is entitled to $2,931.20. The respondent further alleges that sufficient funds were not available at the close of the fiscal year in question with which the claim could have been paid.
While we feel that this is a claim which in equity and good conscience should be paid, we are of further opinion that an award cannot be made based on our decision in Airkem Sales and Service, et. al. vs. Department of Mental Health, 8 Ct.Cl. 180 (1971).
Claim is disallowed.
